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                         EXHIBIT 3
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                                                                   Exhibit 3

                 Chart of Publicly Available, Municipality-Specific Information Creating Factual Questions Regarding
                                         Knowledge And Notice Of Netflix’s Streaming Service

City/Village      Date of      Who Made Statement        Source of Statement    Statement
                  Statement

City of           10/14/2011   DeSoto City Council       Post from Crystal      @Only1Shana_MUA watching this movie on netflix n drinking
DeSoto                         Member (Crystal Chism)    Chism’s Twitter        chardonnay”
                                                         account. See Ex. 49.

City of           01/06/2012   Austin City Council       Post from Mackenzie    “@robertwood that’s super cool. I really really like Netflix.”
Austin                         Member (Mackenzie         Kelly’s Twitter
                               Kelly)                    account. See Ex. 50.   Replying to @robertwood: “@mkelly007 It was great. Got potatoes at
                                                                                Jason’s. Streamed a movie and we both fell asleep on the couch before
                                                                                it was over.”

City of           03/04/2012   Austin City Council       Post from Mackenzie    “I just finished season one of #stormchasers on @netflix. Seems
Austin                         Member (Mackenzie         Kelly’s Twitter        fitting, after attending the #nsww this past weekend.”
                               Kelly)                    account. See Ex. 51.

City of           04/08/2012   DeSoto City Council       Post from Crystal      “@LockJohnson so I'm watching second season of Dave Chappell on
DeSoto                         Member (Crystal Chism)    Chism’s Twitter        Netflix and next thing I know I yell (cont) tl.gd/gshfjl”
                                                         account. See Ex. 52.

City of Frisco    10/17/2012   Frisco Economic           October 17, 2012       Item 10. Consider and act upon a Performance Agreement with Sales
                               Development Corporation   Frisco Economic        Center Development Concepts VII, LLC. and Netflix, Inc.
                                                         Development
                                                         Corporation Regular    “Jim Gandy said this agreement will allow Netflix, Inc. to establish an
                                                         Meeting Minutes. See   e-commerce retail sales center in Frisco. The Frisco Community
                                                         Ex. 53.                Development Corporation will execute a similar performance
                                                                                agreement with the two entities. The agreement provides for a sales
                                                                                tax grant to the Retailer in the amount of 85% of FEDC's sales tax
                                                                                revenue generated by the Retailer's internet sales in the State of Texas
                                                                                for a term of 25 years. The FEDC would receive .5% of 1% of the
                                                                                Type A Sales and Use Tax Revenue generated by and attributed solely
                                                                                to the Retail Sales Center's sales in a calendar year. Jim Gandy said
                                                                                the sales center will be located in office space in Parkwood Office
                                                                                Center and would probably operate 24 hours. David Prince made a
                                                                                motion to approve the Performance Agreement with Sales Center
                                                                                Development Concept VII, LLC. and Netflix, Inc. The motion was

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City/Village    Date of      Who Made Statement           Source of Statement      Statement
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                                                                                   seconded by Dan Bollner and approved by unanimous vote.” See Ex.
                                                                                   53 at p. 4.

City of         02/17/2013   DeSoto City Council          Post from Crystal        “If you have Netflix I dare you to watch these 3 movies will change
DeSoto                       Member (Crystal Chism)       Chism’s Twitter          the way you think of food! Guaranteed! instagr.am/p/V1xFEFrOpU/”
                                                          account. See Ex. 54.

City of         07/04/2014   Denton City Mayor            Post from Gerard         “@tylerperry I'm watching Temptation on @netflix. Scene at approx
Denton                       (Gerard Hudspeth)            Hudspeth’s Twitter       31:50 mins...LAUGH OUT LOUD funny! Bravo! "Can I go eat?" 4
                                                          account. See Ex. 55.     thumbs up...”

City of         10/14/2015   Austin City Council          Post from Mackenzie      “Netflix nears 70 million subscribers, but stock falls - CNN
Austin                       Member (Mackenzie            Kelly’s Twitter          apple.news/AEcOs9xvIS2Gal…”
                             Kelly)                       account. See Ex. 56.

City of Plano   04/25/2016   City of Plano                City of Plano            “Figure V, Sales and Use Tax by NAICS Code – Real Estate, Rental,
                                                          Comprehensive            and Leasing: Netflix, CSI Leasing, Sunbelt Rentals.” See Ex. 57 at C-
                                                          Monthly Financial        3.
                                                          Report. See Ex. 57.

City of         05/01/2016   Carrollton Parks &           May-August 2016          “Retro Cinema -- Don’t just watch Netflix and chill, come to the
Carrollton                   Recreation Director (Scott   Carrollton Parks &       Library and indulge in beloved movies from the ‘80s and ‘90s! It will
                             Whitaker)                    Recreation Leisure       be a fun and interactive way to relive the joy of seeing Back to the
                                                          Connections. See Ex.     Future on the big screen. Also, it’s a great time to drag friends who
                                                          58.                      somehow missed the pure goodness that is Robin Williams playing the
                                                                                   unforgettable Peter Pan. Dressing up is encouraged! Bring your own
                                                                                   snacks and we’ll see you there.” See Ex. 58 at p. 29.

City of         06/30/2016   Arlington Office of          News Article, Four       “Watching her documentary, Finding Vivian Maier (it was co-written,
Arlington                    Communication                Reasons to See the       narrated and co-directed by Maloof AND it”s [sic] on Netflix!), many
                                                          Vivian Maier: Lost and   of the kids she watched were interviewed to give the audience and
                                                          Found Exhibit. See Ex.   [sic] up-close-and-personal look at the still mysterious Maier.” See
                                                          59.                      Ex. 59 at p. 2.




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City/Village     Date of      Who Made Statement         Source of Statement       Statement
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City of Dallas   11/04/2016   Dallas Assistant City      Memorandum                Briefing Materials Slide 11, “Priceless Media Exposure”:
                              Manager (Mark McDaniel)    Regarding TVM
                                                         Productions, Inc.         “Netflix has now acquired the rights, both domestically &
                                                         Retaining “Queen of       internationally which means there is great potential to result in the
                                                         the South” TV Series      Netflix ‘Breaking Bad Effect’ given the original “La Reina Del Sur”
                                                         Production. See Ex.       has had massive success on Netflix and could result in ultimately even
                                                         60.                       greater and longer term economic impact from this series due to
                                                                                   tourism.” See Ex. 60 at Slide 11.

City of          02/21/2017   Mayor of Laredo (Pete      Taryn Walters, Laredo     “Javier Herranz, CEO of Star System, is hosting a formal
Laredo                        Saenz)                     Morning Times, News       announcement of the filming today. Four main actors — Cynthia
                                                         Article, Netflix series   Klitbo, Ruben Cerda, Ginny Hoffman and Marco Uriel — will be
                                                         to be set in Laredo.      flying in from Mexico City for the announcement. The announcement
                                                         See Ex. 61.               will also be made in the company of City of Laredo Mayor Pete Saenz
                                                                                   and Nuevo Laredo Mayor Enrique Rivas.” See Ex. 61 at p. 2.

City of          05/04/2017   Mayor of Houston           Post from Sylvester       “Think about that: revenue cap saved Houston homestead $5.50/mo
Houston                       (Sylvester Turner)         Turner’s Twitter          (half a Netflix subscription) while costing the City $221M in lost
                                                         account. See Ex. 62.      revenue”

City of Dallas   10/11/2017   Dallas City Council        October 11, 2017 City     Agenda Item #15, Authorize Chapter 380 Economic Development
                                                         Council Agenda. See       Grant Agreement Pursuant to the Public/Private Partnership Program
                                                         Ex. 63.                   with TVM Productions, Inc. Regarding Production of USA Network’s
                                                                                   Television Series “Queen of the South”:

                                                                                   “The second season premiered June 8, 2017 and concluded airing
                                                                                   August 31, 2017, averaging 1.158 million viewers per episode. Season
                                                                                   1 is currently available domestically and internationally on Netflix. On
                                                                                   August 10, 2017, USA Network renewed the series for a third season.”
                                                                                   See Ex. 63 at Agenda Item #15, p. 2.

City of          10/25/2017   Ryan Hunt (Arlington       News Article, UTA,        “Currently, Lou Diamond Phillips is a lead cast member in the Netflix
Arlington                     Office of Communication)   City of Arlington         show Longmire. The show's final season debuts on Friday, November
                                                         Helped Actor Lou          17.” See Ex. 64 at p. 2.
                                                         Diamond Phillips




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City/Village   Date of      Who Made Statement       Source of Statement        Statement
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                                                     Pursue His Dream.
                                                     See Ex. 64.

City of San    12/14/2017   San Antonio Chief        City of San Antonio,       Unacceptable Use of COSA Resources and the Internet, ¶ 27:
Antonio                     Information Security     Texas Administrative
                            Officer (Patsy Boozer)   Directive 7.4A             “The following activities are prohibited unless performed in the course
                                                     Acceptable Use of          of legitimate job responsibilities. The list below is by no means
                                                     Information                exhaustive, but provides a framework for activities which fall into the
                                                     Technology. See Ex.        category of unacceptable uses of COSA information technology
                                                     65.                        systems:

                                                                                27. Accessing any non-business related application which maintains a
                                                                                persistent application connection to the Internet, such as streaming
                                                                                videos or media, such as Pandora, Netflix, and/or Google Video,
                                                                                among others.” See Ex. 65 at p. 10.

City of        03/15/2018   Young County             Katya Guillaume,           “Young County Commissioner Precinct 2, Matt Pruitt said, ‘It’s been
Graham                      Commissioner (Matt       News Article, Filming      a long time and it had a lot of brush growing up over it, there were
                            Pruitt)                  begins in Young            bricks piled up on it, it was really in disarray.’
                                                     County for Netflix film.
                                                     See Ex. 66, also           But not anymore. Pruitt continued to tell us, ‘Robbie Friedmann from
                                                     available at               Netflix is the guy that contacted us in commissioners court and asked
                                                     https://www.texom          if he can use this bridge for this movie and we were very excited to
                                                     ashomepage.com/news/       say yes to him.’”
                                                     filming-begins-in-
                                                     young-county-for-
                                                     netflix-film/.

City of        03/27/2018   Austin City Council      Post from Sabino Pio       “Dale, @OneDayAtATime! Dale!”
Austin                      Member (Sabino Pio       Renteria’s Twitter
                            Renteria)                account. See Ex. 67.       Replying to @netflix and @OneDayAtATime: “GET A FRESH CUP
                                                                                OF BUSTELO CAUSE YOUR FAVORITE SHOW IS OFFICIALLY
                                                                                COMING BACK FOR S3! To the beautiful @OneDayAtATime fans
                                                                                who got loud about this, we love you!”




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City/Village    Date of      Who Made Statement        Source of Statement       Statement
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City of         05/01/2018   Missouri City City        May 2018 City             “Symposium: Appropriately named and held on 4/20, the City of
Missouri City                Manager                   Manager’s Report –        Missouri City partnered with the Fort Bend Community Prevention
                                                       Missouri City Police      Coalition to host the 3rd Annual Fort Bend Drug Symposium. The
                                                       Department. See Ex.       event attracted about 350 citizens and professionals, from around the
                                                       68.                       county, who got to experience inspired testimonials, drug awareness
                                                                                 research presentations, a health fair, the newly renovated Missouri
                                                                                 City Community Center, and a warm welcome from our Mayor Allen
                                                                                 Owens and City Councilman Chris Preston. The stars of the morning
                                                                                 were retired DEA agents Steve Murphy and Javier Pena who inspired
                                                                                 the Netflix special ‘Narcos’. The Department was later thanked by the
                                                                                 FBCPC with a plaque.” See Ex. 68 at p. 1.

City of         12/28/2018   DeSoto Mayor (Rachel L.   Post from Rachel L.       “#Netflix users #beware!
DeSoto                       Proctor)                  Proctor’s Twitter
                                                       account. See Ex. 69.      consumer.ftc.gov/blog/2018/12/n…”

City of         2019         Abilene Public Library    Technology @ Your         “Hoopla -- Streaming services have grown in popularity when
Abilene                                                Abilene Public Library.   accessing digital content. Hoopla Digital is a popular platform offering
                                                       See Ex. 70.               a Netflix-style service to connect patrons with a number of popular
                                                                                 resources on smartphones, tablets, and PC’s. Getting started is easy as
                                                                                 the signup process takes less than 5 minutes. No extra software is
                                                                                 needed for use on a PC and mobile users need only download the free
                                                                                 app. As Hoopla is a streaming service, patrons have access to the
                                                                                 entire collection without waiting. Items are always available with the
                                                                                 click of a mouse or tap of a finger.” See Ex. 70 at p. 3.

City of Waco    01/01/2019   Mayor of Waco (Kyle       Visions: Waco, Texas      “Texas Ranger Hall of Fame & Museum -- Ranger staff and
                             Deaver)                   2019 Annual Report &      WCCC.TV developed six new Discovering the Legend episodes on
                                                       Financial Review. See     Texas Ranger history, in addition to a comedic promotional film called
                                                       Ex. 71.                   “Night at the Ranger Museum” designed for young adults. Staff also
                                                                                 assisted with research for The Highwaymen, a Netflix production with
                                                                                 Kevin Costner and a forthcoming Martin Scorsese Leonardo DiCaprio
                                                                                 film.” See Ex. 71 at p. 21.

City of         06/04/2019   McKinney City Manager     June 4, 2019              “Mr. Grimes congratulated the city Communications & Marketing
McKinney                     (Paul Grimes)             McKinney City             department for the Discover McKinney program on McKinney TV,
                                                       Council Regular           which won the bronze award in the social video travel and tourism

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City/Village   Date of      Who Made Statement         Source of Statement      Statement
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                                                       Meeting Minutes. See     category at the 40th Annual Telly Awards (honoring excellence in
                                                       Ex. 72.                  television). Discover McKinney tied with MGM Resorts based on the
                                                                                Bellagio Fountains, and fared well against well-known big budget
                                                                                productions, such as Vice, Vimeo, Buzz Feed, Netflix, Radical Media,
                                                                                and A&E.” See Ex. 72 at p. 13.

City of        07/08/2019   Austin City Council        Post from Vanessa        “I plan to start watching season 3 tonight after my neighborhood
Austin                      Member (Vanessa Fuentes)   Fuentes’s Twitter        meeting. #austin #Netflix”
                                                       account. See Ex. 73.

City of        11/06/2019   Harlingen City Council     November 6, 2019         “The film is about a young girl who loses her mother, the child is an
Harlingen                                              Harlingen City           American Citizen, and her mother is from other country. There is an
                                                       Commission Regular       ICE raid during Christmas and she is separated from her mother and
                                                       Meeting Minutes. See     she runs into a woman who lost her family a few years ago during
                                                       Ex. 74.                  Christmas Day in a tragic car accident. They are heartbroken and
                                                                                through each other they find hope and love again. They are working
                                                                                with their sales agents to find the best fit as to airing the movie or
                                                                                possibility selling it to Netflix. As a producer, there is a business side
                                                                                to this, and one of the responsibilities to my investors is to secure the
                                                                                best deal possible.” See Ex. 74 at p. 2.

City of        12/28/2019   DeSoto Mayor (Rachel L.    Post from Rachel L.      “Is this on Netflix?”
DeSoto                      Proctor)                   Proctor’s Twitter
                                                       account. See Ex. 75.     Replying to @summer_galvez: “Nvm. I’m gonna start Billions.”

City of        12/30/2019   Arlington Office of        News Article,            “7. The American Dream Story of Bestselling Author Julie Murphy --
Arlington                   Communication              Arlington’s Top 10       Julie Murphy wrote the hit novel ‘Dumplin’ that would go on to
                                                       Videos of 2019. See      become a Netflix original movie. And her newest work was created
                                                       Ex. 76.                  right here in The American Dream City.” See Ex. 76 at p.7.

City of        2020         City of Corsicana          Corsicana, Texas 2020    “Film--
Corsicana                                              State of the City. See
                                                       Ex. 77.                  Five movies and numerous commercials and TV shows were filmed in
                                                                                Corsicana in 2019.




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                                                                                Netflix series “Cheer” spotlighting the success of the Navarro College
                                                                                cheer team recently aired.

                                                                                The label ‘Hollycana’ lives on.” See Ex. 77 at Slide 18.

City of San    02/18/2020   San Antonio City Council   Post from Adriana        “Last night I watched @netflix’s The Expanding Universe of Ashley
Antonio                     Member (Adriana Rocha      Rocha Garcia’s Twitter   Garcia starring fellow @swisd & Sky Harbour Elementary Dolphin
                            Garcia)                    account. See Ex. 78.     Drama Alum Paulina Chávez! So proud of Paulina for portraying a
                                                                                young 15 yr-old Latina robotics engineer and rocket scientist!”

City of        02/22/2020   Mesquite City Manager      February 22, 2020        Solving Problems Better Way
Mesquite                    (Cliff Keheley)            Neighborhood Summit
                                                       Presentation “Be Part    “Neighbor parks his truck in front of your mailbox
                                                       of the Solution”. See
                                                       Ex. 79.                  Turn off Netflix

                                                                                Knock on neighbor’s door

                                                                                Explain that mail is important to you and ask if he can move car when
                                                                                mail comes

                                                                                Neighbor moves truck

                                                                                Turn on Netflix” See Ex. 79 at Slide 7.



City of        03/30/2020   Arlington Office of        News Article, Enjoy      “Make the Most Out of Netflix -- Most children are Netflix experts.
Arlington                   Communication              Arlington While Social   And while the streaming service is a top choice for entertainment, it’s
                                                       Distancing. See Ex.      also full of educational content. Click here for a list of
                                                       80.                      recommendations from our Arlington Parks & Recreation staff.” See
                                                                                Ex. 80 at p. 2.




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City/Village    Date of      Who Made Statement         Source of Statement      Statement
                Statement

City of         04/10/2020   League City City Manager   April 10,2020 City       “Live at the Library -- London Lawrence, volunteer coordinator at the
League City                                             Manager’s Update.        library, is now hosting two Live @ the Library videos each day. These
                                                        See Ex. 81.              videos are updating people on what's happening at the library and
                                                                                 what's to come. They're also interactive, with games, how-to activities,
                                                                                 and chats on what people have been reading or watching on Netflix.
                                                                                 Don't miss London's special virtual Thursday Talk on Hollywood
                                                                                 history on April 11, and a virtual Volunteer Appreciation Celebration
                                                                                 video at 5 p.m. on April 13.” See Ex. 81 at p. 5.

City of San     04/24/2020   San Antonio City Council   Post from John           “Start up that new Netflix series or finally clean out the garage.
Antonio                      Member (John Courage)      Courage’s Twitter        Whatever you have planned, stay safe this weekend #D9SA.
                                                        account. See Ex. 82.     #StayHomeSA”

City of         05/09/2020   Lancaster Mayor Pro Tem    Post from Racheal        “‘We came together one Friday evening just to watch Netflix and
Lancaster                    (Racheal Hill)             Hill’s Facebook          hangout, and then after that, that next week is when everybody started
                                                        account.” See Ex. 83.    to show symptoms,’ Carinthia recalled.”

City of         05/15/2020   Rowlett Mayor (Tammy       Friday@5: A Weekly       “FCC crews are making an extraordinary effort to clear all of this
Rowlett                      Dana-Bashian)              Update from City Hall.   additional bulk set out in a timely manner - how can you help?
                                                        See Ex. 84.
                                                                                 • If we have a wind storm and it downs a tree, by all means, cut it up
                                                                                 and set it out for collection. But if you’re using this time at home to
                                                                                 clean out the garage instead of binge-watching Ozark on Netflix, now
                                                                                 is not the time to set those old card tables and couches out.” See Ex.
                                                                                 84 at p. 4.

City of Grand   06/24/2020   Grand Prairie Park Board   June 24, 2020 Minutes    “Ms. Earl has been cleaning closets, cooking, and watching historical
Prairie                      Committee Members (Mal     of Grand Prairie Park    series on Netflix, and rode her bike . . . .
                             Earl, Bryan Parra, and     Board Committee. See
                             Malcolm Chakery)           Ex. 85.                  Mr. Parra had to cancel his trip to Spain & France and has been
                                                                                 missing his students. He’s been watching a lot of Netflix . . . .

                                                                                 Mr. Chakery has been watching Netflix and continues to work at
                                                                                 home. They have been doing plenty of renovations.” See Ex. 85 at pp.
                                                                                 3-4.




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City/Village   Date of      Who Made Statement        Source of Statement    Statement
               Statement

City of        07/17/2020   Pearland City Councilor   Post from Alex         “Folks, hopefully you have seen my recent introduction video to learn
Pearland                    (Alex Kamkar)             Kamkar’s Facebook      a little about me. Now, i want to hear from you!
                                                      account. See Ex. 86.
                                                                             Please throw out some some topics you want to hear more about in the
                                                                             comments. Do you want to talk about the Texans? Property Taxes?
                                                                             Pearland Restaurants? COVID? Recommendations on Netflix?
                                                                             Brazoria County? Shadow Creek Shark Football?

                                                                             Based on the comments, i'll do some short videos with my thoughts.

                                                                             #Kamkar4Pearland #Pearland #ShadowCreek #TeamRedPants
                                                                             #OneCityOneVision”

City of        08/06/2020   Houston City Council      Post from Amy Peck’s   “My sister, @AlisonMPeck wrote @WorkItMovie that comes out on
Houston                     Member (Amy Peck)         Twitter account. See   Netflix tomorrow!!!! So excited to watch it! Please check it out
                                                      Ex. 87.                tomorrow!”




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